Case 1:16-cv-00646-RJJ-RSK ECF No. 1 filed 05/31/16 PageID.1 Page 1 of 18




              UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF MICHIGAN
                   SOUTHERN DIVISION


    Janet Tlapek,

                Plaintiff,
                                                COMPLAINT
    v.

    Atlantic Credit & Finance
    Special Finance Unit, LLC,        JURY TRIAL DEMANDED
    and Law Offices of Timothy E.
    Baxter & Associates, P.C.,

                Defendants.


                    JURISDICTION AND VENUE

   1.    Jurisdiction of this Court arises under 28 U.S.C. § 1331 and

         pursuant to 15 U.S.C. §§ 1692k(d) and pursuant to 28 U.S.C.

         § 1367 for pendent state law claims.

   2.    This action arises out of Defendants’ violations of the Fair

         Debt Collection Practices Act, 15 U.S.C. § 1692 et seq.

         (“FDCPA”), and by Defendant ACF’s violations of the

         Michigan Occupational Code, M.C.L. § 339.901 et. seq.
Case 1:16-cv-00646-RJJ-RSK ECF No. 1 filed 05/31/16 PageID.2 Page 2 of 18




         (“MOC”), in Defendants’ illegal efforts to collect a consumer

         debt from Plaintiff.

   3.    Venue is proper in this District because the acts and

         transactions occurred in Ionia County, Plaintiff resides in

         Ionia County, and Defendants transact business in Ionia

         County.

                                PARTIES

   4.    Plaintiff Janet Tlapek is a natural person who resides in the

         County of Ionia, State of Michigan.

   5.    Plaintiff is a “consumer” as that term is defined by 15 U.S.C.

         § 1692a(3), and/or a person affected by a violation of the

         FDCPA with standing to bring this claim under 15 U.S.C. §

         1692k(a).

   6.    Plaintiff is a “consumer” as the term is defined by 15 U.S.C. §

         1693a(6).

   7.    Plaintiff is a “debtor” as the term is defined by M.C.L. §

         339.901(f).

   8.    Plaintiff is a “consumer” as the term is defined by M.C.L. §

         339.901(f).
Case 1:16-cv-00646-RJJ-RSK ECF No. 1 filed 05/31/16 PageID.3 Page 3 of 18




   9.    Defendant Atlantic Credit & Finance Special Finance Unit,

         LLC, (“Defendant ACF” or “ACF”) is a foreign company, with

         its   domestic    registered   agent   being   CSC     Lawyers

         Incorporating Service (Company), 601 Abbot Road, East

         Lansing, Michigan.

   10.   Defendant ACF uses interstate commerce and the mails in a

         business where its principal purpose is the collection of debts.

   11.   Defendant ACF is a “debt collector” as that term is defined by

         15 U.S.C. § 1692a(6).

   12.   Defendant ACF is a “collection agency” as that term is defined

         by M.C.L. § 339.901(b).

   13.   Defendant Law Offices of Timothy E. Baxter & Associates,

         P.C. (“Defendant TEB” of “TEB”) is a domestic professional

         service corporation.

   14.   Defendant TEB uses interstate commerce and the mails in a

         business where its principal purpose is the collection of debts.

   15.   Defendant TEB regularly collects or attempts to collect,

         directly or indirectly, debts owed or due or asserted to be owed

         or due another.
Case 1:16-cv-00646-RJJ-RSK ECF No. 1 filed 05/31/16 PageID.4 Page 4 of 18




   16.   Defendant TEB is a “debt collector” as that term is defined by

         15 U.S.C. § 1692a(6).

                      FACTUAL ALLEGATIONS

   17.   Plaintiff incurred a financial obligation that was primarily

         for personal, family or household purposes and is therefore

         a “debt” as that term is defined by 15 U.S.C. § 1692a(5),

         namely a private label Best Buy Credit Card credit account

         with HSBC.

   18.   Upon information and believe, Plaintiff defaulted on the debt

         sometime in 2014.

   19.   Sometime after Plaintiff’s default, the debt was consigned,

         placed, assigned, or otherwise transferred to Defendant ACF

         for collection from Plaintiff.

   20.   Plaintiff disputed the debt with Defendant ACF.

   21.   Plaintiff disputed the debt with Defendant TEB.

   22.   Defendant ACF has not indicated to Plaintiff that it has

         reported this debt as disputed to any credit bureaus.

   23.   Defendant TEB has not indicated to Plaintiff that it has

         reported this debt as disputed to any credit bureaus.
Case 1:16-cv-00646-RJJ-RSK ECF No. 1 filed 05/31/16 PageID.5 Page 5 of 18




   24.   Plaintiff requested validation of the debt.

   25.   Defendant    ACF        contracted   with,   or   acted   through,

         Defendant TEB in its attempts to collect this debt.

   26.   Defendant TEB’s acts were committed within the limits of the

         agency relationship with their principal, Defendant ACF.

   27.   A debt collector who hires legal professionals who are also debt

         collectors under the FDCPA to assist in collection activities

         has entered into a principal-agent relationship with the legal

         professionals. See Fox v. Citicorp Credit Services, Inc., 15 F.3d

         1507 (9th Cir. 1994).

   28.   Defendant TEB’s conduct relating to Plaintiff was authorized

         by Defendant ACF.

   29.   Defendant TEB’s conduct relating to Plaintiff and the 64-A

         District Court case was for the benefit of Defendant ACF.

   30.   Defendant ACF sued Plaintiff in the 64-A District Court, in

         Ionia, Michigan.

   31.   Defendant TEB listed itself on the 64-A District Court

         pleadings, along with Timothy E. Baxter and Bradley

         Richard Johnson, as attorneys for ACF.
Case 1:16-cv-00646-RJJ-RSK ECF No. 1 filed 05/31/16 PageID.6 Page 6 of 18




   32.   Case number 15-0544-GC was assigned to Defendant ACF’s

         64-A District Court lawsuit against Plaintiff.

   33.   Defendant ACF’s Complaint sought $2058.87, plus statutory

         interest, court costs, and attorney fees.

   34.   Defendant ACF’s Complaint included an affidavit, searing

         that Plaintiff “owed a balance of $2058.87” to Defendant

         ACF.

   35.   Defendant ACF alleged that the account was transferred

         from Citibank, NA.

   36.   Defendant ACF produced a Bill of Sale dated November 18,

         2014 to Plaintiff.

   37.   Defendant ACF’s affidavit alleged that the Plaintiff’s

         account was charged off on October 12, 2014.

   38.   Plaintiff contested the accuracy and sufficiency of Defendant

         ACF’s records in the 64-A District Court case.

   39.   Defendants ACF and TEB persisted in its attempts to collect

         this debt.

   40.   A bench trial was conducted on February 1, 2016.
Case 1:16-cv-00646-RJJ-RSK ECF No. 1 filed 05/31/16 PageID.7 Page 7 of 18




   41.   Prior to the trail, Plaintiff contacted Defendant ACF,

         through Defendant TEB, by phone, in an attempt to settle

         the debt.

   42.   Defendants ACF and TEB refused to settle the debt prior to

         trial.

   43.   Prior to trial, Defendant ACF, through Defendant TEB,

         indicated to Plaintiff that she owed $2223.87 to Defendant

         ACF.

   44.   Upon information and belief, the $2223.87 amount asserted

         by Defendant TEB, on behalf of Defendant ACF, included

         costs and fees.

   45.   At no point did Plaintiff owe Defendant ACF $2223.87.

   46.   Claiming as presently due costs that are not actually due –

         even in small amounts – is a material misstatement for

         FDCPA purposes.

   47.   Defendant ACF did not produce any witnesses from

         Defendant ACF or Defendant TEB at the February 1, 2016,

         64-A District Court trial.
Case 1:16-cv-00646-RJJ-RSK ECF No. 1 filed 05/31/16 PageID.8 Page 8 of 18




   48.   The 64-A District Court issued an Order of Judgment in the

         amount of $902.00, in favor of ACF, dated February 1, 2016.

   49.   Plaintiff satisfied the Judgment by paying Defendant ACF,

         through Defendant TEB, $902.00 in February of 2016.

   50.   Plaintiff has suffered an injury in fact that is traceable to

         Defendant TEB’s conduct, and is likely to be redressed by a

         favorable decision in this matter.

   51.   Plaintiff has suffered an injury in fact that is traceable to

         Defendant ACF’s conduct, and is likely to be redressed by a

         favorable decision in this matter.

   52.   As a direct, actual, and proximate result of the acts and

         omissions the Defendants, Plaintiff has suffered actual

         damages in the form of lost productivity, lost earnings,

         emotional distress, frustration, upset, and embarrassment,

         amongst other negative emotions caused by Defendants’ acts

         and omissions.
Case 1:16-cv-00646-RJJ-RSK ECF No. 1 filed 05/31/16 PageID.9 Page 9 of 18




                            TRIAL BY JURY

   53.   Plaintiff is entitled to and hereby respectfully demands a

         trial by jury on all issues so triable. US Const. amend. 7.

         Fed.R.Civ.P. 38.

                        CAUSES OF ACTION

                          COUNT I.
            DEFENDANT ACF’S VIOLATIONS OF THE
           FAIR DEBT COLLECTION PRACTICES ACT
                    15 U.S.C. § 1692 et seq.

   54.   Plaintiff incorporates by reference all of the above

         paragraphs of this Complaint as though fully stated herein.

   55.   The foregoing acts and omissions of Defendant ACF and its

         agents constitute numerous and multiple violations of the

         FDCPA.

   56.   Defendant ACF’s conduct violated 15 U.S.C. § 1692d by

         engaging in conduct where the natural consequence was to

         harass, oppress, or abuse Plaintiff.

   57.   Defendant ACF’s conduct violated 15 U.S.C. § 1692e.
Case 1:16-cv-00646-RJJ-RSK ECF No. 1 filed 05/31/16 PageID.10 Page 10 of 18




    58.   Defendant ACF violated 15 U.S.C. § 1692e by using false,

          deceptive, or misleading representation or means in

          connection with the collection of any debt.

    59.   Defendant ACF violated 15 U.S.C. § 1692e(2)(A) by making

          a false representation of the character, amount, or legal

          status of any debt when it claimed, prior to the entry of any

          Judgment, that Plaintiff owed $2223.87 to Defendant ACF.

    60.   From the perspective of the least sophisticated consumer,

          Defendant ACF violated 15 U.S.C. § 1692e(2)(A) by making

          a false representation of the character, amount, or legal

          status of any debt when it claimed, prior to the entry of any

          Judgment, that Plaintiff additional fees and costs to

          Defendant ACF.

    61.   Defendant ACF violated 15 U.S.C. § 1692e(2)(A) by making

          a false representation of the character, amount, or legal

          status of any debt when it claimed that Plaintiff owed

          $2058.87 to Defendant ACF.

    62.   Defendant ACF violated 15 U.S.C. § 1692e(8) by failing to

          communicate credit information that the debt was disputed.
Case 1:16-cv-00646-RJJ-RSK ECF No. 1 filed 05/31/16 PageID.11 Page 11 of 18




    63.   Defendant ACF violated 15 U.S.C. § 1692e(10) by using a

          false representation or deceptive means to collect or attempt

          to collect a debt.

    64.   Defendant ACF violated 15 U.S.C. § 1692f by using unfair or

          unconscionable means to attempt to collect a debt.

    65.   Defendant ACF violated 15 U.S.C. § 1692f when it attempted

          to collect any amount in excess of what was owed by

          Plaintiff.

    66.   From the perspective of the least sophisticated consumer,

          Defendant ACF violated 15 U.S.C. § 1692f when it attempted

          to collect any amount in excess of what was owed by

          Plaintiff.

    67.   Each violation of the MOC by the Defendant ACF, as

          outlined in this Complaint, is a violation of 15 U.S.C. § 1692f,

          being an unfair or unconscionable means to attempt to

          collect a debt.

    68.    As a result of Defendant ACF’s violations of the FDCPA,

          Plaintiff is entitled to actual damages pursuant to 15 U.S.C.

          § 1692k(a)(1); statutory damages in an amount up to
Case 1:16-cv-00646-RJJ-RSK ECF No. 1 filed 05/31/16 PageID.12 Page 12 of 18




          $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,

          reasonable attorney’s fees and costs pursuant to 15 U.S.C. §

          1692k(a)(3), from Defendant ACF.

                         COUNT II.
             DEFENDANT ACF’S VIOLATIONS OF THE
               MICHIGAN OCCUPATIONAL CODE
                    M.C.L. § 339.901 et seq.

    69.   Plaintiff incorporates by reference all of the above

          paragraphs of this Complaint as though fully stated herein.

    70.   The foregoing acts and omissions of Defendant ACF and its

          agents constitute numerous and multiple violations of the

          MOC including, but not limited to, each and every one of the

          above-cited provisions of the MOC, M.C.L. § 339.911 et seq.,

          with respect to Plaintiff.

    71.   Defendant     ACF    violated   M.C.L.   §   339.915(a)   by

          communicating with the Plaintiff in a misleading or

          deceptive manner.

    72.   Defendant ACF violated M.C.L. § 339.915(e) by making an

          inaccurate, misleading, untrue, or deceptive statement or

          claim.
Case 1:16-cv-00646-RJJ-RSK ECF No. 1 filed 05/31/16 PageID.13 Page 13 of 18




    73.   Defendant ACF violated M.C.L. § 339.915(n) by using one or

          more harassing, oppressive, or abusive method to collect a

          debt.

    74.   Defendant ACF violated M.C.L. § 339.915(q) by failing to

          implement a procedure designed to prevent each of the

          above-listed MOC violations by Defendant ACF’s employees.

    75.   As a result of Defendant ACF’s willful violations of the MOC,

          Plaintiff is entitled to actual damages above $50.00 pursuant

          to M.C.L. § 339.916; statutory damages in an amount up to

          $150.00 pursuant to M.C.L. § 339.916; and reasonable

          attorney’s fees and court costs pursuant to M.C.L. § 339.916,

          from Defendant ACF.

                          COUNT III.
             DEFENDANT TEB’S VIOLATIONS OF THE
            FAIR DEBT COLLECTION PRACTICES ACT
                     15 U.S.C. § 1692 et seq.

    76.   Plaintiff incorporates by reference all of the above

          paragraphs of this Complaint as though fully stated herein.
Case 1:16-cv-00646-RJJ-RSK ECF No. 1 filed 05/31/16 PageID.14 Page 14 of 18




    77.   The foregoing acts and omissions of Defendant TEB and its

          agents constitute numerous and multiple violations of the

          FDCPA.

    78.   Defendant TEB’s conduct violated 15 U.S.C. § 1692d by

          engaging in conduct where the natural consequence was to

          harass, oppress, or abuse Plaintiff.

    79.   Defendant TEB’s conduct violated 15 U.S.C. § 1692e.

    80.   Defendant TEB violated 15 U.S.C. § 1692e by using false,

          deceptive, or misleading representation or means in

          connection with the collection of any debt.

    81.   From the perspective of the least sophisticated consumer,

          Defendant TEB violated 15 U.S.C. § 1692e by using false,

          deceptive, or misleading representation or means in

          connection with the collection of any debt.

    82.   Defendant TEB violated 15 U.S.C. § 1692e(2)(A) by making

          a false representation of the character, amount, or legal

          status of any debt when it claimed, prior to the entry of any

          Judgment, that Plaintiff owed $2223.87 to Defendant ACF.
Case 1:16-cv-00646-RJJ-RSK ECF No. 1 filed 05/31/16 PageID.15 Page 15 of 18




    83.   Defendant TEB violated 15 U.S.C. § 1692e(2)(A) by making

          a false representation of the character, amount, or legal

          status of any debt when it claimed that Plaintiff owed

          $2058.87 to Defendant ACF.

    84.   Defendant TEB violated 15 U.S.C. § 1692e(8) by failing to

          communicate credit information that the debt was disputed.

    85.   Defendant TEB violated 15 U.S.C. § 1692e(10) by using a

          false representation or deceptive means to collect or attempt

          to collect a debt.

    86.   From the perspective of the least sophisticated consumer,

          Defendant TEB violated 15 U.S.C. § 1692e(10) by using a

          false representation or deceptive means to collect or attempt

          to collect a debt.

    87.   Defendant TEB violated 15 U.S.C. § 1692f by using unfair or

          unconscionable means to attempt to collect a debt.

    88.   From the perspective of the least sophisticated consumer,

          Defendant TEB violated 15 U.S.C. § 1692f when it attempted

          to collect any amount in excess of what was owed by

          Plaintiff.
Case 1:16-cv-00646-RJJ-RSK ECF No. 1 filed 05/31/16 PageID.16 Page 16 of 18




    89.   Defendant TEB violated 15 U.S.C. § 1692f when it attempted

          to collected any amount in excess of what was owed by

          Plaintiff.

    90.   As a result of Defendant TEB’s violations of the FDCPA,

          Plaintiff is entitled to actual damages pursuant to 15 U.S.C.

          § 1692k(a)(1); statutory damages in an amount up to

          $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,

          reasonable attorney’s fees and costs pursuant to 15 U.S.C. §

          1692k(a)(3), from Defendant TEB.

                          PRAYER FOR RELIEF

          WHEREFORE, Plaintiff prays that judgment be entered

    against Defendants as follows:

                           COUNT I.
             DEFENDANT ACF’S VIOLATIONS OF THE
            FAIR DEBT COLLECTION PRACTICES ACT
                     15 U.S.C. § 1692 et seq.

           for an award of actual damages pursuant to 15 U.S.C. §

             1692k(a)(1) against Defendant ACF and in favor of

             Plaintiff;
Case 1:16-cv-00646-RJJ-RSK ECF No. 1 filed 05/31/16 PageID.17 Page 17 of 18




           for an award of statutory damages of $1,000.00 pursuant

             to 15 U.S.C. §1692k(a)(2)(A) against Defendant ACF and

             in favor of Plaintiff; and

           for an award of costs of litigation and reasonable attorney’s

             fees pursuant to 15 U.S.C. § 1692k(a)(3) against Defendant

             ACF and in favor of Plaintiff.

                         COUNT II.
             DEFENDANT ACF’S VIOLATIONS OF THE
               MICHIGAN OCCUPATIONAL CODE
                    M.C.L. § 339.901 et seq.

           for damages pursuant to M.C.L. § 339.916(2) against

             Defendant ACF and in favor of Plaintiff;

           for treble damages pursuant to M.C.L. § 339.916(2) against

             Defendant ACF and in favor of Plaintiff; and

           for reasonable attorney’s fees and court costs pursuant to

             M.C.L. § 339.916(2) against Defendant ACF and in favor of

             Plaintiff.

                          COUNT III.
             DEFENDANT TEB’S VIOLATIONS OF THE
            FAIR DEBT COLLECTION PRACTICES ACT
                     15 U.S.C. § 1692 et seq.
Case 1:16-cv-00646-RJJ-RSK ECF No. 1 filed 05/31/16 PageID.18 Page 18 of 18




           for an award of actual damages pursuant to 15 U.S.C. §

             1692k(a)(1) against Defendant TEB and in favor of

             Plaintiff;

           for an award of statutory damages of $1,000.00 pursuant

             to 15 U.S.C. §1692k(a)(2)(A) against Defendant TEB and

             in favor of Plaintiff; and

           for an award of costs of litigation and reasonable attorney’s

             fees pursuant to 15 U.S.C. § 1692k(a)(3) against Defendant

             TEB and in favor of Plaintiff.


                                          Respectfully submitted,

                                          GOLDEN LAW OFFICES, P.C.
    Dated: May 25, 2016
                                          /s/ B. Thomas Golden
                                          B. Thomas Golden (P70822)
                                          Attorney for the Plaintiff
                                          2186 West Main Street
                                          P.O. Box 9
                                          Lowell, Michigan 49331
                                          Telephone: (616) 897-2900
                                          Facsimile: (616) 897-2907
                                          btg@bthomasgolden.com
